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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                 (Baltimore Division)

In re:                                           *

CC 1400 ALICEANNA STREET LLC,                    *   Case No.: 25-12153 (NVA)

               Debtor.                           *   Chapter 7

*        *     *       *      *        *         *       *       *      *      *     *      *      *

                       DEBTOR’S RESPONSE IN OPPOSITION TO
                     THE UNITED STATES TRUSTEE’S MOTION TO
                   CONVERT OR, IN THE ALTERNATIVE, DISMISS CASE

         CC 1400 Aliceanna Street, LLC (the “Debtor”), by counsel, files this Response in

Opposition to the United States Trustee’s Motion to Convert Or, in the Alternative, Dismiss Case

(the “Motion to Convert”), and states as follows:

                                           Background

         1.    On March 13, 2025, (the “Petition Date”), the Debtor filed with this Court a

voluntary petition for relief under chapter 7 of the Bankruptcy Code.

         2.    The Debtor is a single asset real estate debtor by virtue of its ownership of the real

property and improvements located at 1400 Aliceanna Street, Baltimore, Maryland (the

“Property”).

         3.    The sole basis for the Motion to Convert is the U.S. Trustee’s assertion that the

Debtor does not have insurance coverage for the Property.

         4.    The U.S. Trustee is correct that no insurance was in place as of the Petition Date.

However, the Debtor has now obtained insurance coverage for the Property (including

replacement and liability coverage). As such, the U.S. Trustee’s concerns and “for cause” basis

to convert or dismiss have been addressed.

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   5. For this reason, the Motion to Convert should be denied.

      WHEREFORE, the Debtor respectfully requests entry of an order denying the Motion to

Convert and granting the Debtor such other and further relief as this Court deems just and

proper.




Date: April 22, 2025
                                           Respectfully submitted,

                                           WHITEFORD, TAYLOR & PRESTON L.L.P.

                                           /s/ Brent C. Strickland
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                                           Proposed counsel to the Debtor-in-Possession




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 22, 2025 I caused a copy of the foregoing Response to be

served according to the Court’s ECF records, stating that electronic notice will be provided to the

following persons:



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                                                         /s/ Brent C. Strickland
                                                         Brent C. Strickland




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